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UN‫اًا‬   ED STATES D!STR!CT COURT
WESTERN D!STR!CTOF NEW YORK




S!LV0N s. S.MMONS


                               Plaintiff,                    MEMORANDUM OF LAW
          vs.

                                                              17-CV-6176 ΜΑΤ-MWP
‫ل‬0 SEPH M. FERRIGNO, II, SAMUEl
GIANCURSIO, MARKWIATER, CHRISTOPHER
MUSCATO, ROBERT WETZEL, MICHAEL l.
CIMINEllI, ^tOHN DOES 1-20, CITY OF ROCHESTER,
SHOTSPOTTER, INC. , SST, INC., OOHN DOES 21-30
and PAUIC. GREENE,
                               Defendants.




          Plaintiff Silvon s. Simmons (he٢einafter "Plaintiff”), by his attorneys, Burkwit law

Fl٢m, PLIC, submits this Memorandum of law in opposition to Defendants' Motion

pursuant to FRCP 12(b)(6) for partial dismissal of the Complaint for failure to state a

claim and for an order dismissing Plaintiff's third, fourth, fifth, sixth, seventh, eighth and

ninth causes of action. Upon reviewing the allegations set forth in Plaintiff's Amended

Complaint (See Exhibit A - Campolieto Attorney Declaration (hereinafter referred to as

"Amended Complaint”)), legally sufficient causes of action have been alleged by Plaintiff

and Defendants' motion should be denied in Its entirety.

                  THE FACTS ALLEGED IN THE AMENDED CDMPLAINT

         On April 1,2016 at approximately 8:55 p.m.. Plaintiff and his next door neighbor

went to a nearby store and returned to เาเร neighbor's driveway at approximately

9:08 p.m.(Amended Complaint, paras. 56 & 59). After Plaintiff's neighbor backed the
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٧eh‫؛‬c!e Into the driveway and turned it off. Defendant Ferrigno drove up and suddenly

stopped his Rochester Police Department vehicle along the curb at the end of the

driveway and shined a bright spotlight at Plaintiff who had exited the vehicle. (Amended

Complaint, paras. 61,62 & 68). Prior to stopping. Defendant Ferrigno had not been

provided with any information that would suggest to a reasonable police officer that

Plaintiff or his neighbor had engaged In any criminal activity. (Amended Complaint,

para. 68). Defendant Ferrigno, who did not state he was a police officer, began running

towards Plaintiff with his gun drawn and pointed at him and Plaintiff immediately started

running down the driveway towards his back yard. (Amended Complaint paras. 72 &

73). Plaintiff, who was blinded by the spotlight shined directly in his face, did not know

who was chasing him at gunpoint when he ran down the driveway. (Amended

Complaint, para. 74). As Plaintiff was running away from Defendant Ferrigno down the

driveway. Defendant Ferrigno fired four (4) gun shots at Plaintiff striking Plaintiffs body

three (3) times with his police issued Clock .45 caliber hand gun. (Amended Complaint,

para. 86). When Defendant Ferrigno shot at Plaintiff, he could not see Plaintiff since it

was dark and he did not see a gun or weapon in Plaintiff's hand. (Amended Complaint,

paras. 124-125). Defendant Giancurslo was not present at the scene when Defendant

Ferrigno shot Plaintiff and he never saw Plaintiff holding a gun or weapon in his hand.

(Amended Complaint, paras. 132 & 135).

       Plaintiff was unable to get away from Defendant Ferrigno due to his injuries so he

played dead in the back yard since he feared he would be shot again and killed.

(Amended Complaint, para. 90). While Plaintiff was playing dead in the back yard, he

accidentally took a deep breath due to pain and Defendant Ferrigno said 'What the

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fuck”, kicked Plaintiff in his back multiple times, said "Shut the fuck up before I blow your

brains out” and pointed a gun to Plaintiff's head and said "I should just finish you off”.

(Amended Complaint, paras. 9٥-94). At no time did Plaintiff or any other person fire a

gun at Defendants Ferrigno or Giancursio on the evening of April 1,2016. (Amended

Complaint, paras. 106 & 107).

       Defendants Ferrigno and Giancurslo went into the back yard where Plaintiff was

lying and kicked Plaintiff. (Amended Complaint, para. 111). Defendant Giancursio

searched and handcuffed Plaintiff who was lying on the ground and he did not see a

gun before or after he handcuffed and searched Plaintiff. (Amended Complaint, paras.

113-115). After Plaintiff was shot by Defendant Ferrigno and handcuffed by Defendant

Giancursio, he was dragged further into the back yard where it was even darker.

(Amended Complaint, para. 116). After Plaintiff was shot by Defendant Ferrigno, he was

frisked, searched, handcuffed, kicked, dragged and physically injured by Defendants

Ferrigno and Giancurslo. (Amended Complaint, para. 118). When Plaintiff was shot

three (3) times by Defendant Ferrigno, there was no gun or weapon in the back yard or

on Plaintiff’s person. (Amended Complaint, para. 117). At no time did Plaintiff pose a

threat of physical harm to Defendants Ferrigno, Giancursio or any other person.

(Amended Complaint, para. 126). Following the shooting of Plaintiff, Defendant Ferrigno

called dispatch advising shots were fired prompting other Rochester police officers to

respond to the scene. (Amended Complaint, para. 137). Prior to the numerous

Rochester police officers arriving at the scene, there was no gun or other weapon

present on the ground. (Amended Complaint, para. 139).

       When Rochester police officers responded to the scene, a Sturm Ruger Ρ85

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Этт handgun (hereinafter “Ruger Handgun") was a!!eged!y found on the ground and

taken Into evidence. (Amended Complaint, paras. 140 &141). the Ruger Handgun did

not belong to Plaintiff who never touched, held or possessed it. (Amended Complaint,

paras. 144-146). Plaintiff's DNA and fingerprints were not on the Ruger Handgun.

(Amended Complaint, para. 147). Besides a spent bullet casing in the chamber of the

Ruger Handgun, the Rochester Police Department did not recover any discharged

bullets or other casings from the Ruger Handgun which had an empty magazine and

was not in the “lock back" position. (Amended Complaint, paras. 152-154). When the

Rochester Police Department allegedly recovered the Ruger Handgun, there was no

objective evidence that it had recently been fired. (Amended Complaint, para. 155). The

Ruger Handgun was subseguently tested by the Monroe County Crime lab and

determined to be a properly functioning firearm since it was fired multiple times, all

bullet casings properly discharged from the gun with the slide of the gun going into the

“lock back" position like it was supposed to when the last bullet in the magazine was

fired. (Amended Complaint, paras. 183-185).

       Before Plaintiff was loaded into the ambulance, he heard Defendant Ferrigno

accuse him of firing a gun at him so when Plaintiff was loaded into the ambulance.

he specifically reguested Defendant Christopher Muscato and other officers to check his

hands for gun powder residue but Plaintiff’s reguest was refused. (Amended Complaint

paras. 157-159). At no time was Plaintiff’s person or his clothing tested for gunshot

residue and there was no gunshot residue on Plaintiff’s person or his clothing.

(Amended Complaint, paras. 160-161). When Plaintiff arrived and was admitted at



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strong Мет٥٢1а! Hospita!, he again made reguests to Defendant Muscato and other

police officers to check his hands for gun powder residue since he knew Defendant

Ferrigno falsely accused him of firing a gun at him but these reguests were again

denied. (Amended Complaint, para. 163). After Plaintiff was intubated and unable to

speak, he made a written reguest to Defendant Muscato to check his hands for gun

powder residue but Defendant Muscato refused and told Plaintiff to stop writing

guestions. (Amended Complaint, para. 164).

       On April 5, 2616, Plaintiff was arraigned at strong Memorial Hospital on criminal

charges for Attempted Aggravated Murder, Attempted Aggravated Assault on a police

officer and two (2) counts of Criminal Possession of a Weapon in the Second Degree,

charges which were based on the Defendants’ false accusations that Plaintiff

possessed and fired the Ruger Flandgun at Defendant Ferrigno on April 1,2616.

(Amended Complaint, paras. 171-172). Plaintiff alleged that accusatory

informations/complaints were filed by Defendants Ferrigno, Giancursio and other

Rochester police officers which contained false and fabricated allegations in an effort to

Justify the criminal charges against Plaintiff and to assure their own exonerations from

any wrongdoing. (Amended Complaint, para. 173). Plaintiff alleged that upon

information and belief. Defendant Ferrigno conspired with the other Defendants,

including Rochester Police Chief Michael L. Ciminelli, to concoct a fabricated account of

the events occurring the evening of April 1,2616 and his interaction with Plaintiff and

the reasons he allegedly shot Plaintiff. (Amended Complaint, paras. 175-176). Plaintiff

was discharged from strong Memorial Hospital on April 11, 2616 and immediately

transferred to Monroe County Jail where he remained incarcerated until his criminal trial

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ended on Oc‫؛‬obe٢26, 2017. (Amended Comp.alnt, para. 177).

       Shotspotter Is an acoustics gunshot detection and location system with sensors

set in undisclosed locations of the City of Rochester. (Amended Complaint, para. 196).

When gunshot or gunfire activity is detected, Shotspotter reports it to the police 911

center to dispatch a patrol car. (Amended Complaint, para. 197). On April 1, 2016 at

approximately 9:00 p.m., the Shotspotter system was on but was in the “sguelch mode

and did not alert the Rochester Police Department or the 911 call center that there had

been a shooting in the vicinity of 9 Immel street in Rochester, New York. (Amended

Complaint, para. 221). Shortly after the incident. Defendant Robert Wetzel from the

Rochester Police Department informed Shotspotter in an email that the RPD had an

officer involved shooting In the area of 10 Immel street and approximately 3 to 5 rounds

were fired. (Amended Complaint, para. 222). Defendant Wetzel provided location, time.

number of possible shots and the caliber of the weapons fired during the Incident.

(Amended Complaint, para. 224). On April 2, 2016 at 12:55 a.m. , the incident was

'Reclassified to Multiple Gunshots from helicopter. Reason: per customer. OIS (officer

involved shooting), and the “Number of rounds updated from 3 to 4". (Amended

Complaint, paras. 228, 232). Shotspotter generated a Detailed Forensic Report dated

April 7, 2016 which noted that on April 1, 2016 at 9:09:38 p.m., “4 rounds" were

detected. (Amended Complaint, para. 227). Defendant Mark Wiater testified at

Plaintiff's criminal trial that after he left the incident scene and returned back to the


Rochester Police Department after midnight, he opened a chat session with Shotspotter

between 12:30 a.m. and 1:00 a.m., he acknowledged that Shotspotter initially detected

four (4) gunshots and he wanted Shotpotter to look into the incident and see if they

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detected any 0the٢ gunfire. (Amended Complaint, paras. 233-235). Defendant Paul c.

Greene, manager of forensic services for Shotspotter, testified at Plaintiff's criminal trial

that somebody from the Rochester Police Department contacted Shotspotter and asked

«hotspotter to try to find additional shots. (Amended Complaint, paras. 200 & 236).

Defendant Greene acknowledged at Plaintiff's criminal trial that he listened to the audio

that was presented to the dispatcher, he could hear the sound of four (4) gunshots and

subseguently he was asked by the Rochester Police Department to essentially search

and see if there were more shots fired than Shotspotter picked up. (Amended

Complaint, para. 237). After further review, Shotspotter modified their report and

indicated that five (5) rounds were fired. (Amended Complaint, para. 242). Defendant

Greene certified and acknowledged that his final report was true and accurate and he

attended Plaintiff’s criminal trial to testify on behalf of the prosecution and against

Plaintiff concerning the Shotspotter evidence. (Amended Complaint, para. 244). Upon

information and belief, the spool containing sounds and/or other information pertaining

to the April 1, 2016 shooting was lost, deleted and/or destroyed by Defendants

Shotspotter, Inc, SST, Inc. City of Rochester and/or the Defendant officers. (Amended

Complaint, paras. 248-249).

       On October 26, 2017, a jury acguitted Plaintiff of Attempted Aggravated Murder

Attempted Aggravated Assault on a police officer and one count of Criminal Possession

of a Weapon, a charge where there was insufficient proof that Plaintiff possessed a

loaded firearm with the intent to use the same unlawfully against another. (Amended

Complaint, paras. 251-252). The jury, however, convicted Plaintiff of Criminal

Possession of a Weapon in the Second Degree in violation of Penal Law 265.03(3)

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based on the testimony of Defendant Greene that five (5) shots were fired and the

Shotspotter audio and Detailed Forensic Reports that were received into evidence.

(Amended Complaint, paras. 253-254). Following the jury verdict on October 26, 2017,

Plaintiff was released from prison on his own recognizance pending sentencing.

(Amended Complaint, para. 255). Plaintiff’s criminal sentencing hearing occurred on

January 11,2018 at whicti time Monroe County Court Judge Christopher Giaccio

reversed and set aside the jury's weapon conviction and ordered a new trial precluding

Shotspotter evidence as unreliable scientific evidence.(Amended Complaint, para.

256). On May 31, 2018, Plaintiff’s jury trial was scheduled to begin on the remaining

weapons charge but the prosecution was unable to proceed without the Shotspotter
evidence since it could not establish that the firearm was loaded at the time it was

allegedly possessed by Plaintiff.(Amended Complaint, paras. 257-259). Defense

counsel’s motion to dismiss the indictment was thereafter granted and the criminal

proceeding terminated in Plaintiff’s favor.(Amended Complaint, para. 260).

                          DFENDANTS) MOTION TO DISMISS

       To survive a motion to dismiss for failure to state a claim under Rule 12(b)(6), the

plaintiff's “factual allegations must be enough to raise a right to relief above the

speculative level”. Rodriquez V. Winski. 973 FSupp2d 411,418(SDNY 2013), citingi

Atlantic Coro. V. Twomblv. 550 US 544, 555 (2007). Fora complaint to be sufficient, the

claim asserted must be one that, in light of the factual allegations, is at least “plausible”.

Anderson News, LLC, et al■ v, American Media, Inc, et al■. 680 F3d 162 (2ท٥ Cir. 2012),

citing Bell Atlantic Coro. V. Twomblv, 550 US 544, 570 (2007). To present a plausible

claim, the pleading must contain something more than a statement that merely creates

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a suspicion of a legally cognizable right of action. Id. at 182, citing Bell Atlantic Coro. V.

Twomblv at 555. It must allege facts that would be sufficient to permit a reasonable

inference that the defendant has engaged in culpable conduct: "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged”. Id. at 182

citing Ashcroft V. Iqbal, 556 US 662 (2669). In order to withstand dismissal, the

complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face. Sharp V. Town of Greece et al.. 2610 US Dist. Lexis

42944 at io(WDNY 2010), citing Ruotalo V. Cìt٧ of New York, 414 F3d 184, 188 (2‫اي‬٢

Cir. 2008), citing Ashcroft V. Iqbal, 556 US 662 (2009). A court should draw all

reasonable inferences In Plaintiff's favor, assume all well-pleaded factual allegations to

be true and determine whether they plausibly give rise to an entitlement to relief.

McNaughton V. De Blasio, 2015 US Dist. Lexis 13352 at 11-12 (SONY 2015), citing

Faber V. Metropolitan Life Insurance Co■, 648 F3d 98, 104 (2nd Cir. 2011). The function

of a motion to dismiss is "merely to assess the legal feasibility of the complaint, not to

assay the weight of the evidence which might be offered in support thereof”. Ryder

Energy Distribution Corporation V. Merrill Lynch Commodities, Inc., et al.. 748 F2d 774

779 (2nd Cir. 1984) (citing Geislerv. Petrocelli, 616 F2d 636, 639 (2nd Cir. igso)). The

district court should deny the motion unless it appears to a certainty that a plaintiff can

prove no set of facts entitling him to relief. Id. at 779, citing Conley V. Gibson. 355 US

41,45-46 (1957). The district court must limit itself to a consideration of the facts that

appear on the face on the complaint. Id. at 779.

       The facts alleged in the Amended Complaint clearly show that Plaintiff's claims

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 are plausible and ‫؛‬hat Defendants have engaged in culpable conduct in using unlawful

 excessive and deadly force against him and by conspiring, fabricating and falsifying

 evidence to support the criminal charges and proceeding against Plaintiff, his

 incarceration and the Defendant Officers' exonerations.

                                            ΡΟ!ΝΤΙ


  PLA!NT!FF HAS ALLEGED A VIABLE 42 use SECTION 1983 EIGHTH CAUSE OF
  ACTION FOR MUNICIPALITY LIABILITY BY DEFENDANT CITY OF ROCHESTER

        To prevail on a claim against a municipality under Section 1983 based on the

 acts of a public official, a plaintiff is reguired to prove: 1) actions taken under color of

 law; 2) deprivation of a constitutional or statutory right; 3) causation; 4) damages; and 5)

 that an official policy of the municipality caused the constitutional injury. White V. The

 City of New York. 2015 US Dist. lexis 100772 at 14 (SDNY 2015), citing Roe V.

 Waterbury, 542 F3d 31, 36 (2ท‫؛‬، Cir. 2008). To state a §1983 claim against a

 municipality, a plaintiff must adeguately allege that a deprivation of his constitutional

 rights was caused by an official policy or custom of that municipality. Urbina V. City of

-,2016 US Dist. Lexis 1439 at 10(SDNY 2016), citing Jeffes V■ Barnes. 208

 F3d 49, 57 (2ท٥ Cir. 2000), citing Monell v. Department of Social Services of New York.

436 US 658, 692-94 (1978). A plaintiff may satisfy the "policy or custom” reguirement in

 one of several ways, including by alleging the existence of1)a formal policy officially

 endorsed by the municipality; 2) actions taken by government officials responsible for

 establishing the municipal policies that caused the particular deprivation in guestion; 3)

 a practice so consistent and widespread that, although not expressly authorized,

 constitutes a custom or usage of which a supervising policy-maker must have been


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awa٢e; or 4) a failure by policymakers to provide adequate training or supervision to

subordinates to such an extent that it amounts to deliberate indifference to the rights of

those who come into contact with the municipal employees. White V. City of New York.

supra at 15, citing Brandon V. City of New York. 205 F.Supp2d 261,276-77 (SDNY

2010). To satisfy the fourth prong, the plaintiff must “show that the need for more or

better supervision to protect against constitutional violations was obvious", which may

be established “by showing that there were repeated complaints of civil rights

violations", and “deliberate indifference may be Inferred if the complaints are followed by

no meaningful attempt on the part of the municipality to investigate or to forestall further

incidents”. White V. City of New York, supra at 15, citing Teman V. City of Newburah-

2615 WL 1379652 at 19 (SONY 2615) and Jett V. Dallas Independent School District.

491 US 761, 737 (1989)(noting municipal liability may attach where policy maker

acquiesces in long-standing practice that constitutes “standard operating procedure” of

local government), citing Reynolds V. Giuliani, 566 F3d 183, 192 (2nd Cir. 2667).

       Under Monell, a municipality may be liable for deprivation of constitutional rights

‘when execution of a government's policy or custom, whether made by its lawmakers or

by those whose edicts or acts may fairly be said to represent official policy, inflicts the

injury”. Kastle V. The Town of Kent, 2614 US Dist. lexis 56125 at 35 (SONY 26141

citing Monell, supra at 694. A municipality may also be liable for inadequate training,

supervision, or hiring when the failure to train, hire or supervise amounts to a deliberate

indifference to the rights of those with whom municipal employees will come into

contact. Kastle, supra at 34-35, citing City of Canton V. Harris. 489 US 378, 388 (19891.

‘Monell’s policy or custom requirement is satisfied where a local government is faced with

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a pattern of misconduct and does nothing, compelling the conclusion that the local

government has acguiesced in or tacitly authorized its subordinates' unlawful actions”.

White V. City of New York, supra at 16, citing Fiacco v. City of Rensselaer. 783 F2d 319

328 (2ท‫؛‬، Cir. 1986)('Whether or not the claims had validity, the very assertion of a number

of such claims put the City on notice that there was a possibility that its police officers had

used excessive force”), fhus, local governing bodies “may be sued for constitutional

deprivations visited pursuant to governmental custom even though such custom has not

received formal approval through the government's official decision-making channels”.

White v. City of New York, supra at 16, citing Monell, 436 US at 659. Monell does not

provide a separate cause of action for the failure by the government to train its employees‫ًا‬

it extends liability to the municipal organization where that organization's failure to train

or the policies or customs that it has sanctioned, led to an independent constitutional

violation. McNauahton V. De Blasio, supra at 16, citing Segal v. City of New York. 459

F3d 267, 219 (2"٥ Cir. 2666).

       Plaintiff’s Amended Complaint alleges legally sufficient facts showing a claim

under 42 use §1983 for municipal liability against Defendant City of Rochester. Plaintiff

alleged that the Defendant officers acted under color of law, that they arrested Plaintiff,

deprived him of certain constitutionally protected rights to be free from unreasonable

searches,and seizures, when they falsely arrested him and illegally used excessive and

deadly force on his person. Plaintiff has alleged that these violations caused him injuries

and damages and that an official policy or custom of Defendant City of Rochester caused

the constitutional injury.



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       As for an officia! policy or custom of Defendant City of Rochester which allegedly

caused Plaintiff a deprivation of his constitutional rights. Plaintiff has alleged in Count Vlll

paragraph 364, in the Amended Complaint that the City of Rochester has demonstrated

a policy, ordinance, custom, regulation and/or decision of deliberate indifference to the

rights of its citizens by:

       a. failing to adeguately train its police officers regarding the proper methods for
          stops, arrest procedures, use of force, securing and preserving evidence
          and/or intervening to prevent constitutional rights violations from occurring by
           other police officers;

       b. failing to adeguately investigate and acknowledge excessive force and police
          misconduct complaints of citizens whose constitutional rights are violated;

       c. failing to independently investigate and all excessive force and police
          misconduct complaints of citizens which are brought to its attention;

       d. failing to refer all excessive force complaints of citizens to the Civilian Review
           Board for review;

       e. allowing the investigation and internal review of excessive force/police
          misconduct cases to be controlled and/or influenced by the Rochester Police
          Department and not by the Center For Dispute Settlement, an independent
          Civilian Review Board or other agency;

       f. failing to administer the internal review process of excessive/deadly force
           and/or police misconduct cases through an independent Civilian Review
           Board through Center For Dispute Settlement and in compliance with
           Rochester City Council Resolution 92-46, enacted October 13, 1992, and
           modified in 1995 by Resolution 95-8 of the Rochester City Council;

       g. promoting and tolerating a custom and policy in which officers violate the
          constitutional rights of citizens through unlawful stops, searches, seizures,
          excessive and/or deadly force, imprisonment, malicious prosecutions and/or
          failing to intervene to prevent such violations;

       h. failing to suspend, terminate or take disciplinary action against officers who
          violate rights of citizens through unlawful stops, searches and seizures,
          excessive and/or deadly force, imprisonment, malicious prosecutions and/or
          failing to intervene to prevent such violations;


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       ‫ا‬.   failing to adequately train and supervise officers who are prone to commit
            unlawful stops, searches and seizures, use of excessive and/or deadly force
            malicious prosecutions and/or failure to Intervene to prevent such
            constitutional rights violations; and

      j.    failing to investigate, acknowledge and discipline but rather, instructing or
            acquiescing in Rochester Police officers' filing of false charges against
            individuals who are insufficiently deferential during interactions with the police
            and against individuals who are the victims of false arrest, excessive force
            and/or other police misconduct in order to justify and cover up such violations.
       Plaintiff alleged that despite over 20 prior citizen complaints made against

Defendant Ferrigno, many for excessive use of force, he has recently been promoted to

serve on the internal affairs department of the City of Rochester Police Department.

(Amended Complaint, para. 264). Plaintiff alleged in the Complaint that Defendants City

of Rochester and Ciminelli have been aware and have allowed widespread abuses of

power by City of Rochester police officers for many years and their failure to discipline

such officers constitutes tacit approval of said misconduct and encourages continuation

of such misconduct without fear of being disciplined. (Amended Complaint, paras. 375-

376). Plaintiff alleged that there have been repeated complaints of civil rights violations

against Defendant City of Rochester with no meaningful attempt to investigate or to

forestall further incidents and the City's policy makers have acquiesced in such long-

standing practices. (Amended Complaint, para. 367). Plaintiff cited civil cases and

instances of misconduct by some of the Defendant Officers and other officers of the

Rochester Police Department at paragraphs 382 through 465 showing a pattern whereby

officers were never reprimanded, suspended and/or disciplined for their misconduct for

such constitutional injuries to citizens. Plaintiff alleged that Defendant City of Rochester

permitted or acquiesced in the filing of false “cover charges" against innocent arrestees



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who fa!!ed to d!sp!ay the degree of deference or subservience demanded by arresting

officers.(Amended Complaint, para. 374). Plaintiff alleged that the Defendant officers had

inadequate training and supervision regarding arrests, searches and seizures, use of

force, securing and preserving evidence and Intervening when constitutional deprivations

occur and that Defendants City of Rochester and Ciminelli failed to properly train,

supervise, reprimand, suspend and/or terminate them amounting to a deliberate

indifference to the rights of those whom they will come into contact, including Plaintiff.

(Amended Complaint, paras. 266-267). Plaintiff alleged that the policies and practices of

Defendant City of Rochester In authorizing its police officers to use excessive and/or

deadly force, to fabricate, alter and/or destroy evidence, to cover up such violations and

maliciously prosecute innocent citizens is so persistent and widespread that it constitutes

a custom or usage and implies the actual or constructive knowledge of the City of

Rochester.(Amended Complaint, para. 276). Plaintiff also alleged that Defendant City of

Rochester failed to adequately train, supervise, reprimand, suspend and/or terminate

police officers who engage in misconduct, has retained officers involved in misconduct.

has failed to report and Investigate use of force by City of Rochester police officers, has

allowed the internal review of excessive force/police misconduct cases to be controlled

and/or influenced by the Rochester Police Department and not by the Center For Dispute

Settlement, an independent Civilian Review Board (hereinafter “CRB”) or other agency,

has failed to allow the internal review process of excessive force cases to occur through

an independent CRB through Center For Dispute Settlement and in compliance with

Rochester City Council Resolutions 92-40 and 95-8. Plaintiff has alleged ample grounds

for imposing municipal liability in paragraphs 364 and 374 of the Amended Complaint.

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Assum!ng the factua! a!!egatlons a!!eged ‫؛‬n the Amended Comp.alnt as true, and upon

considering the above case authority. Plaintiff has alleged legally sufficient claims under

42 use §1983 for municipal liability against Defendant City of Rochester warranting the
denial of Defendants' motion to dismiss for failure to state a claim.

                                          ΡΟ!ΝΤ II


  PLAINTIFF HAS ALLEGED A VIABLE 42 use §1983 NINTH CAUSE ٥F ACTION
  FOR SUPERVISORY LIABILITY AGAINST DEFENDANTS CITY OF ROCHESTER
                              AND MICHAEL L. CIMINELLI


       With respect to supervisory liability, a supervisory defendant must have been

personally involved in a constitutional deprivation to be held liable under §1983. Williams

v. Smith. 781 F2d 319, 323 (2ท٥ Cir. 1986). A supervisor may be personally involved

through:(1) direct participation in the alleged constitutional violation:(2)failure to remedy

the wrong after being informed of the violation by report or appeal;(3) creation or

continuance of a policy or custom under which the unconstitution al practices occurred;

(4) gross negligence in supervising the subordinates who committed the wrongful acts; or

(5) deliberate indifference demonstrated by failure to act on information that

unconstitutional acts were occurring. Colon V. Coughlin, 58 F3d 865, 872 (2nd Cir. 1995).

       In the Amended Complaint, Plaintiff has sufficiently alleged facts showing
supervisory liability under the second through fifth prongs of Colon. Plaintiff alleged at
paragraph 374 that Defendant Ciminelli has condoned a pattern of brutality and other
misconduct, failed to adeguately investigate, discipline, suspend, terminate and/or
retrain officers involved in misconduct, failed to intervene to protect the constitutional

rights of citizens, condoned excessive and/or deadly use of force by officers, failed to
conduct independent and adeguate investigations, permitted the filing of false “cover
charges" against innocent arrestees, maliciously prosecuted citizens who are falsely

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ar٢es‫؛‬ed. p!aintlff also gave specific examples of police misconduct and supervisory
liability in the Amended Complaint from paragraphs 382 through 405.

       As in Kastle V. ^he Town of Kent, supervisory liability is alleged against
Defendant Ciminelli in this case for his failure to remedy the wrong after being informed

of the violation by report or appeal, by creating or continuing of a policy or custom under
which the unconstitutional practices occurred, by his gross negligence in supervising his
subordinates wtio committed the wrongful acts and by showing deliberate indifference
demonstrated by his failure to act on information that unconstitutional acts were

occurring. Colon V. Coughlin, 58 F3d 865, 872 (2"‫ ي‬Cir. 1995). Based on the foregoing.
Plaintiff has sufficiently alleged a claim against Defendant CIminelli for supervisory
liability under 42 use §1983 warranting the denial of Defendants' motion to dismiss for
failure to state a claim.

                                          Ρ٥!ΝΤ٠ΙΙ

  PLA!NT!FF HAS ALLEGED A V!ABLE 42 use §1983 S!XTH CAUSE OF ACT.ON
        FOR MAUCIOUS ABUSE OF PROCESS AGAINST ALL DEFENDANTS

       A malicious abuse of process claim lies against a defendant who (1) employs

regularly issued legal process to compel performance of forbearance of some act (2)

with intent to do harm without excuse or justification, and (3) in order to obtain a

collateral objective ttiat is outside the legitimate ends of the process. Savino V. City of

New York, 331 F3d 63, 682nd cir. 2693), citing Cooky. Sheldon. 41 F3d 73, 86 (2nd Cir.

1994). Malicious abuse of criminal process also supports liability under §1983. Id. at 86.

To state a claim for abuse of criminal process, a plaintiff must establish that the

defendants had an improper purpose for instigating the action. Id. at 86.

       Plaintiff alleged in the Amended Complaint that Defendants issued criminal

process against him by fabricating and falsifying evidence by causing his arrest and


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prosecution with intent to do harm without excuse or justification in order to obtain

collateral objective outside the legitimate ends of the legal process, to wit: to create

justification for and cover up Defendant Ferrigno's false arrest and use of unlawful and

deadly force against Plaintiff, to secure Defendant Ferrigno's and city of Rochester’s

exonerations for any police misconduct and constitutional rights violations against

Plaintiff, to avoid accountability and to cover up the Defendant officer’s use of force and

misconduct.(Amended Complaint, paras. 346-348). Plaintiff has clearly satisfied the

third element of malicious abuse of process since Defendants had an improper purpose

in instigating the criminal proceeding against Plaintiff. Based on the foregoing. Plaintiff

has sufficiently alleged a claim against Defendants for Malicious Abuse of Process

under 42 use §1983 warranting the denial of Defendants' motion to dismiss for failure

to state a claim.
                                          POINT IV


  PLAINTIFF HAS ALLEGED A VIABLE 42 use §1983 THIRD CAUSE OF ACTION
   FOR CONSPIRACY TO VIOLATE CIVIL RIGHTS AGAINST ALL DEFENDANTS


       Plaintiff has not alleged a claim for Conspiracy To Violate pursuant to 42 use

§1985 but rather, pursuant to 42 use §1983. To state a conspiracy claim under §1983,

plaintiff must allege (1) an agreement between two or more state actors or between a

State actor and a private entity: (2) to act in concert to inflict an unconstitutional injury;

and (3) an overt act done in furtherance ofthat goal causing damages. Sharp V. Town

of Greece, et al. at 21, citing Pangburn V. Culbertson, 2٥٥ F3d 65, 72 (2nd Cir. 1999).

Where the alleged conspirators all consist of employees, officers, or agents of a

corporation, the “intracorporate conspiracy" doctrine bars such claims. ‫ ظ‬at 21, citing

Perrin V. Canandaigua City School District, 2698 US Dist. Lexis 95286 at 2 (WDNY


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2008), citing Hartline v. Gallo. 2006 US Dist. Lexis 75849 at 9(EDNY 2006), affd. in

pertinent part, 546 F3d 95 (2ท٥ Cir. 2008). An exception to this doctrine exists where the

intracorporate actors allegedly have motives independent from the corporation. Id. at

21.
        At paragraphs 300 through 313 of the Amended Complaint, Plaintiff alleged that

Defendants Ferrigno and Giancursio conspired to unlawfully search, seize, arrest and

imprison him and falsely accuse him of possessing and shooting a gun at Defendant

Ferrigno and prosecute him thus causing his incarceration and deprivation of freedom.

(Amended Complaint, paras. 301-302). Plaintiff alleged that ttie Defendant Officers

conspired and agreed to concoct a story that on the evening of April 1,2016,

Defendants Ferrigno and Giancursio were actively and aggressively pursuing a

menacing suspect named Ivory Golden to justify the pursuit, arrest and use of force

against Plaintiff.(Amended Complaint, para. 303). Plaintiff alleged that the Defendant

Officers agreed to stage the alleged crime scene by relocating Defendant Ferrigno’s

fired gun shell casings from the driveway to the back yard, by dragging Plaintiffs body

further into the back yard and otherwise tampering with and/or planting incriminating

evidence at the alleged crime scene.(Amended Complaint, para. 305). Plaintiff also

alleged that the Defendant Officers falsely accused Plaintiff of possessing and firing a

gun at Defendant Ferrigno, fabricated and falsified evidence to cause Plaintiff to be

wrongfully imprisoned and prosecuted for felony crimes.(Amended Complaint, para.

304). Plaintiff alleged that “all Defendants" conspired to falsely create additional gun

shots on Shotspotter audio and/or reports, to fabricate and falsify evidence which they

forwarded to prosecutors and participated in the prosecution against Plaintiff to secure



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the exonerat!٥n of Defendant Fe٢rlgno for using excess!٧e and dead.y force against

Plaintiff. (Amended Complaint, para. 307).

       Plaintiff has alleged a legally sufficient claim for Conspiracy to Violate Civil Rights

against all Defendants. Plaintiff has not only alleged a conspiracy among the Defendant

Officers to violate Plaintiff's civil rights, but also alleged this claim against Defendants

Shotspotter, Inc., SST, Inc., John Does 21-30 and Paul c. Greene for conspiring with

the Defendant Officers to falsely create additional gun shots on Shotspotter audio

and/or reports, to fabricate and falsify evidence which they fonwarded to prosecutors

and participated in the prosecution against Plaintiff, these allegations of collusion

between the Defendant Officers and the Shotspotter Defendants is set forth in Count IV

of the Amended Complaint for malicious prosecution. Since not all the alleged CO-

conspirators consist of employees, officers or agents of a corporation, the

 intracorporate conspiracy” doctrine does not apply to bar this claim. In any event, the

exception to the “intracorporate conspiracy” doctrine exists where the intracorporate

actors allegedly have motives independent from the corporation. Sharp V. Town of

Greece, et al. at 21. fhe conduct alleged in the Amended Complaint shows the

Defendant Officers had “motive independent from the corporation” and their conduct

should not be shielded by the “intracorporate conspiracy” doctrine. Plaintiff has alleged

a legally sufficient claim against all Defendants for conspiracy to violate under 42 use

§1983 warranting the denial of Defendants’ motion to dismiss for failure to state a claim.

                                           POINT V


 PLAINTIFF HAS ALLEGED VIABLE 42 use §1983 SEVENTH CAUSE OF ACTION
      FOR FAILURE TO INTERVENE AGAINST DEFENDANTS FERRIGNO,
       GIANCURSIO, WIATER, MUSCATO, CIMINEILI AND JOHN DOES 1-20


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      Law enforcement offlcla!s have an affirmative duty to intervene to protect the

constitutional rights of citizens from infringement by other law enforcement officers in

their presence. Terebesi V. Torreso, 764 F3d 217, 243 (2nd Cir. 2614), citing Anderson

V. Branen. 17 F3d 552, 557 (2nd Cir. 1994). An officer may be liable for the preventable

harm caused by the officer's failure to intervene during a constitutional violation where

the officer observes the constitutional violation and has sufficient time to act to prevent

it. Figueroa V. Mazza, 825 F3d 89, 196 (2nd Cir. 2916).

       Based on the allegations alleged in the Amended Complaint, the Defendant

Officers observed or had reason to know that excessive and deadly force was used

against Plaintiff, that Plaintiff had been unjustifiably arrested and that unconstitutional

violations had been committed by the Defendant Officers. Plaintiff alleged that

Defendant Muscato failed to intervene to protect his constitutional rights when he

refused to check Plaintiff for gun powder residue after two reguests were made before

he was criminally charged.(Amended Complaint, para. 354). Plaintiff also alleged that

Defendant Ciminelli failed to Intervene to protect Plaintiff's constitutional rights knowing

of Defendant Ferrigno's extensive history of past citizen complaints, his propensity to

give false sworn statements and he failed to intervene to independently investigate and

substantiate the accusations made against Plaintiff.(Amended Complaint, para. 355).

Plaintiff alleged that the Defendants herein knew and/or had reason to know that

unlawful excessive and deadly force was used on Plaintiff, that Plaintiff had been

unjustifiably arrested, criminally charged, imprisoned, maliciously prosecuted, that

Shotspotter audio and other evidence was concealed, destroyed, fabricated and/or

altered at the reguest of the Rochester Police Department and the Defendant Officers

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that there was a rea.lstlc ٥pportun!ty for the Defendant Off!cers to Intervene to prevent

the harm to p!a!nt!ff from occurhng but they fal!ed to do so. (Amended Comp‫ا‬a‫ا‬nt, paras.

357-358). Based on the foregoing, a legally sufficient claim has been alleged against

the Defendant Officers for Failure To Intervene under 42 use §1983 warranting the

denial of Defendants' motion to dismiss for failure to state a claim.

                                         ΡΟ!ΝΤ VI


       PLAINTIFF HAS ALLEGED A VIABLE 42 use §1983 FOURTH CAUSE
    OF ACTION FOR MALICIOUS PROSECUTION AGAINST ALL DEFENDANTS

       To prevail on a claim of malicious prosecution, four elements must be shown: (1)

the defendant initiated a prosecution against plaintiff, (2) without probable cause to

believe the proceeding can succeed, (3) the proceeding was begun with malice and (4)

the matter terminated in plaintiff’s favor. Ricciuti V. City of New York. 124 F3d 123, 130

(2ท٥ Cir. 1997), citing O’Brien V. Alexander, 101 F3d 1479, 1484 (2nd Cir. 1996), ً‫ها‬

maintain a §1983 claim for malicious prosecution under the Fourth Amendment, a

plaintiff is reguired to show a seizure or other perversion of proper legal procedures

implicating his personal liberty and privacy interests under the Fourth Amendment.

Washington V. County of Rockland, 373 F3d 310, 316 (2nd Cir. 2004). The

deprivation of liberty - the seizure - must have been effected “pursuant to legal

process”. Singery. Fulton County Sheriff, 63 F3d 110 (2nd Cir. 1995), cert denied 517

US 1189 (1996), citing Heck V. Humphrey, 512 US 477 (1994). Claims for malicious

prosecution under §1983 are substantially the same as claims for malicious prosecution

under state law. Jocks V. Tavernier, 316 F3d 128, 134 (2nd Cir. 2003).

       The allegations in Count IV of the Amended Complaint clearly set forth that


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Defendan‫؛‬s (1) initiated a prosecution against Plaintiff, (2) without probable cause to

believe the proceeding can succeed, (3) the proceeding was begun with malice and (4)
ttie matter terminated in the Plaintiff's favor. Plaintiff alleged that the Defendants worked

in concert to fabricate and falsify evidence and secure false charges against Plaintiff

resulting in Plaintiff being wrongfully ctiarged and prosecuted for crimes which lacked

probable cause and which resulted in Plaintiff's ип1а١л4и1 confinement and prosecution.

(Amended Complaint, paras. 316-319). Plaintiff alleged that Defendants knew probable

cause did not exist to arrest and prosecute Plaintiff since no witnesses saw Plaintiff

possess a handgun, there was no physical evidence showing Plaintiff ever had

possession of the alleged weapon or fired it, since gun powder residue testing of

Plaintiff was refused after Plaintiff requested it, since the Rochester Police Department

had to call Shotspotter requesting they look for additional shots after three (3) and then

four (4) shots were reported and since Shotspotter added a fifth gunshot after the

request of the Rochester Police Department. (Amended Complaint, para. 321). Plaintiff

alleged that Defendants knew that they lacked objective facts to support reasonable or

probable cause to prosecute Plaintiff but they initiated and continued the prosecution

against Plaintiff. (Amended Complaint, para. 323). Plaintiff has alleged a legally

sufficient claim against Defendants under 42 use §1983 for malicious prosecution

warranting the denial of Defendants' motion to dismiss forfaiture to state a claim.

                                         PoiNT ٧‫اا‬


  PLAINTIFF HAS ALLEGED A VIABLE 42 use §1983 FIFTH CAUSE OF ACTION
   FOR DENIAL OF THE RIGHT TO A FAIR TRIAL AGAINST ALL DEFENDANTS

      A Section 1983 plaintiff may sue for denial of the right to a fair trial based on a


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р٥!1се officer's fabr!cat!on of ‫؛‬nformatlon. Ricciuti V■ New York City Transit Authority,

124 F3d 123, 13٥ (2nd Cir. 1997). To estab!!sh a falrtrla! c!alm based on fabricaron of

evidence, a plaintiff must 'show that (1) an investigating official (2) fabricates evidence

(3) that is likely to influence a jury's decision, (4) forwards that information to

prosecutors, and (5) the plaintiff suffers a deprivation of liberty as a result. Gannett V.

Undercover Officer CO٥039, 838 F3d 265, 277 (2nd Cir. 2016). An investigating official

may be any governmental actor that investigates alleged criminal activity, which in most

cases is a police officer. (Id. at 274). Whether the fabricated evidence is likely to

influence a jury’s decision can be satisfied by showing that the fabricated evidence was

material to the prosecutor's case. (Id. at 277). Fabricated evidence is material when it

may effect “the prosecutor's decision to pursue charges rather than to dismiss the

complaint without further action" or could influence “the prosecutor’s . .. assessments of

the strength of the case”. Ricciuti V. New York City Transit Authority. 124 F3d 123, 129-

130 (2nd Cir. 1997). A plaintiff can establish a depravation of liberty through the number

of court appearances a plaintiff made post-arraignment, constraints such as bail

reguirements, a period of incarceration or travel restrictions. See Singery. Fulton

County Sheriff, 63 F3d 110, 117 (2nd Cir. 1995), Arbuckle V. City of New York. 2016 Wl

5793741 at 10-11 (SONY Sept. 30, 2016).

       For the reasons already mentioned herein. Plaintiff has sufficiently alleged his

claim for denial of the right to a fair trial based on fabrication of evidence by the

Defendants. Pursuant to Gannett V. Undercover Officer C00039. 838 F3d 265, 277 (2nd

Cir. 2016), Plaintiff has alleged that Defendant Officers and the Shotspotter Defendants

fabricated evidence, including the Shotspotter audio and reports and police reports

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that p١a!nt‫؛‬ff possessed and fired a loaded firearm and had committed felony crimes

forwarded that information to prosecutors and which was used to influence the juryS

decision. Plaintiff was arrested, detained, imprisoned, charged and prosecuted in

violation of his constitutional rights. (Amended Complaint, para. 34٥). Based on the

foregoing. Defendants actively participated in denying Plaintiff the right to a fair trial

based on fabrication of evidence in violation of 42 use §1983 warranting the denial of

Defendants' motion to dismiss for failure to state a claim.

                                        C٥NCLUS٠٥N


        In light of the foregoing, the Plaintiff respectfully reguests this Court to deny in its

-entirety Defendants' motion pursuant to FRCP 12(b)(6) for partial dismissal of the

Complaint for failure to state a claim and for an order dismissing certain of Plaintiff’s

claims and grant such other and further relief as the Court deems just and proper.

Dated: February 19, 2019                     BURKWIT LAW FIRM, PLLC

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UN‫اًا‬    ED STATES D!STR!CT COURT
WESTERN DISTRICT OF NEW YORK




SIIVON S. SIMMONS


                           Plaintiff,                     CERTIFICATE OF SERVICE
          vs.

                                                          17-CV-6176 MATIWP
^JOSEPH M. FERRIGNO, II, SAMUEl
GIANCURSIO, MARKWIATER, CHRISTOPHER
MUSCATO, ROBERT WETZEI, MlCHAEl l.
CIMINEllI, ‫ل‬0 HN DOES 1-20, CITY OF ROCHESTER
SHOTSPOTTER, INC., SST, INC., OOHN DOES 21-30
and PAUIC. GREENE,
                           Defendants.




I hereby certify that on February 19, 2019, the foregoing Memorandum of law, dated
February 19, 2019 was electronically filed with the Clerk of the District Court using its
CM/ECF system, which would then electronically notify the following CM/ECF participants
on this case:


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